        Case 1:16-cv-00690-CL        Document 107       Filed 11/09/18    Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    MEDFORD DIVISION




JOHN ERIC SMITH,
                                                                   Civ. No. 1:16-cv-00690-CL

                      Plaintiff,
                                                                                    JUDGMENT
              V.

UNITED STATES OF AMERICA,


                      Defendant.


CLARKE, Magistrate Judge.

       Judgment is entered in accordance with the Court's Findings of Fact and Conclusions of

Law (#87) and its Order on Post-Trial Damages (#106). Plaintiff is entitled to $1,847,009.06 in

past medical expenses, $3,800,000.00 in future medical expenses, and $7,000,000.00 in non-

economic damages. Plaintiff may submit a bill of costs to the Court for approval.




                                            United States Magistrate Judge



Page 1 - illDGMENT
